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                     EXHIBIT 13B
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Appendix A: Real Property Sales
  Compensation Zone Map




                          Appendix A: Real Property Sales
                                                                             1
                            Compensation Zone Map

                                                                                 026307
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                            LA, MS, AL, FL




                       Appendix A: Real Property Sales
                                                                          2
                         Compensation Zone Map

                                                                              026308
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                     Hancock County, MS (1)




                       Appendix A: Real Property Sales
                                                                          3
                         Compensation Zone Map

                                                                              026309
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                     Hancock County, MS (2)




                       Appendix A: Real Property Sales
                                                                          4
                         Compensation Zone Map

                                                                              026310
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                     Hancock County, MS (3)




                       Appendix A: Real Property Sales
                                                                          5
                         Compensation Zone Map

                                                                              026311
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                     Hancock County, MS (4)




                       Appendix A: Real Property Sales
                                                                          6
                         Compensation Zone Map

                                                                              026312
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                     Harrison County, MS (1)




                       Appendix A: Real Property Sales
                                                                          7
                         Compensation Zone Map

                                                                              026313
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                     Harrison County, MS (2)




                       Appendix A: Real Property Sales
                                                                          8
                         Compensation Zone Map

                                                                              026314
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                      Harrison County, MS (3)




                       Appendix A: Real Property Sales
                                                                           9
                         Compensation Zone Map

                                                                               026315
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                      Harrison County, MS (4)




                       Appendix A: Real Property Sales
                                                                           10
                         Compensation Zone Map

                                                                                026316
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                      Harrison County, MS (5)




                       Appendix A: Real Property Sales
                                                                           11
                         Compensation Zone Map

                                                                                026317
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                      Harrison County, MS (6)




                       Appendix A: Real Property Sales
                                                                           12
                         Compensation Zone Map

                                                                                026318
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                      Jackson County, MS (1)




                       Appendix A: Real Property Sales
                                                                           13
                         Compensation Zone Map

                                                                                026319
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                      Jackson County, MS (2)




                       Appendix A: Real Property Sales
                                                                           14
                         Compensation Zone Map

                                                                                026320
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                      Jackson County, MS (3)




                       Appendix A: Real Property Sales
                                                                           15
                         Compensation Zone Map

                                                                                026321
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                      Jackson County, MS (4)




                       Appendix A: Real Property Sales
                                                                           16
                         Compensation Zone Map

                                                                                026322
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                      Jackson County, MS (5)




                       Appendix A: Real Property Sales
                                                                           17
                         Compensation Zone Map

                                                                                026323
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                       Mobile County, AL (1)




                       Appendix A: Real Property Sales
                                                                           18
                         Compensation Zone Map

                                                                                026324
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                       Mobile County, AL (2)




                       Appendix A: Real Property Sales
                                                                           19
                         Compensation Zone Map

                                                                                026325
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                       Mobile County, AL (3)




                       Appendix A: Real Property Sales
                                                                           20
                         Compensation Zone Map

                                                                                026326
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                       Mobile County, AL (4)




                       Appendix A: Real Property Sales
                                                                           21
                         Compensation Zone Map

                                                                                026327
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                       Mobile County, AL (5)




                       Appendix A: Real Property Sales
                                                                           22
                         Compensation Zone Map

                                                                                026328
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                      Baldwin County, AL (1)




                       Appendix A: Real Property Sales
                                                                           23
                         Compensation Zone Map

                                                                                026329
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                      Baldwin County, AL (2)




                       Appendix A: Real Property Sales
                                                                           24
                         Compensation Zone Map

                                                                                026330
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                      Baldwin County, AL (3)




                       Appendix A: Real Property Sales
                                                                           25
                         Compensation Zone Map

                                                                                026331
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                      Escambia County, FL (1)




                       Appendix A: Real Property Sales
                                                                           26
                         Compensation Zone Map

                                                                                026332
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                      Escambia County, FL (2)




                       Appendix A: Real Property Sales
                                                                           27
                         Compensation Zone Map

                                                                                026333
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                      Escambia County, FL (3)




                       Appendix A: Real Property Sales
                                                                           28
                         Compensation Zone Map

                                                                                026334
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                     Santa Rosa County, FL (1)




                       Appendix A: Real Property Sales
                                                                           29
                         Compensation Zone Map

                                                                                026335
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                     Santa Rosa County, FL (2)




                       Appendix A: Real Property Sales
                                                                           30
                         Compensation Zone Map

                                                                                026336
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                     Santa Rosa County, FL (3)




                       Appendix A: Real Property Sales
                                                                           31
                         Compensation Zone Map

                                                                                026337
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                      Okaloosa County, FL (1)




                       Appendix A: Real Property Sales
                                                                           32
                         Compensation Zone Map

                                                                                026338
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                      Okaloosa County, FL (2)




                       Appendix A: Real Property Sales
                                                                           33
                         Compensation Zone Map

                                                                                026339
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                      Okaloosa County, FL (3)




                       Appendix A: Real Property Sales
                                                                           34
                         Compensation Zone Map

                                                                                026340
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                       Walton County, FL (1)




                       Appendix A: Real Property Sales
                                                                           35
                         Compensation Zone Map

                                                                                026341
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                       Walton County, FL (2)




                       Appendix A: Real Property Sales
                                                                           36
                         Compensation Zone Map

                                                                                026342
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                       Walton County, FL (3)




                       Appendix A: Real Property Sales
                                                                           37
                         Compensation Zone Map

                                                                                026343
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                       Walton County, FL (4)




                       Appendix A: Real Property Sales
                                                                           38
                         Compensation Zone Map

                                                                                026344
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                       Walton County, FL (5)




                       Appendix A: Real Property Sales
                                                                           39
                         Compensation Zone Map

                                                                                026345
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                       Walton County, FL (6)




                       Appendix A: Real Property Sales
                                                                           40
                         Compensation Zone Map

                                                                                026346
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                         Bay County, FL (1)




                       Appendix A: Real Property Sales
                                                                           41
                         Compensation Zone Map

                                                                                026347
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                         Bay County, FL (2)




                       Appendix A: Real Property Sales
                                                                           42
                         Compensation Zone Map

                                                                                026348
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                         Bay County, FL (3)




                       Appendix A: Real Property Sales
                                                                           43
                         Compensation Zone Map

                                                                                026349
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                         Bay County, FL (4)




                       Appendix A: Real Property Sales
                                                                           44
                         Compensation Zone Map

                                                                                026350
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                         Bay County, FL (5)




                       Appendix A: Real Property Sales
                                                                           45
                         Compensation Zone Map

                                                                                026351
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                         Bay County, FL (6)




                       Appendix A: Real Property Sales
                                                                           46
                         Compensation Zone Map

                                                                                026352
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                         Bay County, FL (7)




                       Appendix A: Real Property Sales
                                                                           47
                         Compensation Zone Map

                                                                                026353
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                         Gulf County, FL (1)




                       Appendix A: Real Property Sales
                                                                           48
                         Compensation Zone Map

                                                                                026354
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                         Gulf County, FL (2)




                       Appendix A: Real Property Sales
                                                                           49
                         Compensation Zone Map

                                                                                026355
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                         Gulf County, FL (3)




                       Appendix A: Real Property Sales
                                                                           50
                         Compensation Zone Map

                                                                                026356
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                         Gulf County, FL (4)




                       Appendix A: Real Property Sales
                                                                           51
                         Compensation Zone Map

                                                                                026357
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                         Gulf County, FL (5)




                       Appendix A: Real Property Sales
                                                                           52
                         Compensation Zone Map

                                                                                026358
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                       Franklin County, FL (1)




                       Appendix A: Real Property Sales
                                                                           53
                         Compensation Zone Map

                                                                                026359
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                       Franklin County, FL (2)




                       Appendix A: Real Property Sales
                                                                           54
                         Compensation Zone Map

                                                                                026360
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                       Franklin County, FL (3)




                       Appendix A: Real Property Sales
                                                                           55
                         Compensation Zone Map

                                                                                026361
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                       Franklin County, FL (4)




                       Appendix A: Real Property Sales
                                                                           56
                         Compensation Zone Map

                                                                                026362
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                       Franklin County, FL (5)




                       Appendix A: Real Property Sales
                                                                           57
                         Compensation Zone Map

                                                                                026363
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                       Franklin County, FL (6)




                       Appendix A: Real Property Sales
                                                                           58
                         Compensation Zone Map

                                                                                026364
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                       Franklin County, FL (7)




                       Appendix A: Real Property Sales
                                                                           59
                         Compensation Zone Map

                                                                                026365
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                       Franklin County, FL (8)




                       Appendix A: Real Property Sales
                                                                           60
                         Compensation Zone Map

                                                                                026366
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                       Franklin County, FL (9)




                       Appendix A: Real Property Sales
                                                                           61
                         Compensation Zone Map

                                                                                026367
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                      Franklin County, FL (10)




                       Appendix A: Real Property Sales
                                                                           62
                         Compensation Zone Map

                                                                                026368
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                      Franklin County, FL (11)




                       Appendix A: Real Property Sales
                                                                           63
                         Compensation Zone Map

                                                                                026369
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                      Franklin County, FL (12)




                       Appendix A: Real Property Sales
                                                                           64
                         Compensation Zone Map

                                                                                026370
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                       Wakulla County, FL (1)




                       Appendix A: Real Property Sales
                                                                           65
                         Compensation Zone Map

                                                                                026371
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                       Wakulla County, FL (2)




                       Appendix A: Real Property Sales
                                                                           66
                         Compensation Zone Map

                                                                                026372
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                       Wakulla County, FL (3)




                       Appendix A: Real Property Sales
                                                                           67
                         Compensation Zone Map

                                                                                026373
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                          Grand Isle, LA (1)




                       Appendix A: Real Property Sales
                                                                           68
                         Compensation Zone Map

                                                                                026374
